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                                   1                                    UNITED STATES DISTRICT COURT

                                   2                                 NORTHERN DISTRICT OF CALIFORNIA

                                   3

                                   4     EPIC GAMES, INC.,                                  Case No. 4:20-cv-05640-YGR
                                   5                   Plaintiff,                           ORDER PERMITTING REMOTE
                                                                                            PUBLIC ACCESS
                                   6             vs.

                                   7     APPLE INC.,
                                   8                   Defendant.

                                   9

                                  10          The Court has received requests to permit remote public access to the evidentiary hearing
                                  11   set for Wednesday, May 8, 2024, which may continue on Friday, May 10, 2024 and Friday, May
                                  12   17, 2024. Given the public’s interest in the topics to be discussed and the absence of risks to the
Northern District of California
 United States District Court




                                  13   integrity of the proceedings, the Court exercises its discretion under Civil Local Rule 77-3 to
                                  14   PERMIT real time remote audio access. Any objection to this decision shall be raised by no later
                                  15   than Monday, May 6, 2024. To the extent members of the public utilize such access, they are
                                  16   advised that they are “prohibited from recording, photographing, or retransmitting” the
                                  17   proceedings. See Civil L.R. 77-3(d).
                                  18          IT IS SO ORDERED.
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                                  20   Dated: May 2, 2024
                                                                                                YVONNE GONZALEZ ROGERS
                                  21                                                           UNITED STATES DISTRICT JUDGE
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